        Case 8:06-cr-00111-JSM-TGW Document 76 Filed 11/01/06 Page 1 of 6 PageID 158



                           UNITED STATES DISTRICT COURT
                                                MIDDLE DISTRICT OF FLORIDA
                                                     TAMPA DMSION



UNITED STATES OF AMERICA                                     JUDGMENT IN A CIUMINAL CASE

                                                             CASE NUMBER: 8:06-cr-Ill-T-30MSS
                                                             USM NUMBER: 48555-018



JOSE PEREZ
                                                             Defendant's Attorney:   Bryant Camareno, re[

THE DEFENDANT :

2i_ pleaded gullty to count(s) ONE of the Indictment.
- pleaded nolo contendere to count(s) which was accepted by the court
- was found s i l t y on counr(s) after a plea of not guilty.


TITLE & SECTION                    NATURE O F OFFENSE                                   OFFENSE ENDED             COUNT

21 U.S.C. $846; $84I(h)(l)(B):     Conspiracy to Possess With Intent to Distribute      February 27, 2006         One
and W l ( h ) ( l ) ( C )          500 Grams or More of Cocaine and a Quant~ty
                                   of 3,4 Methylenedioxyrnethamphetamlne


       The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
kntencing Reform Act of 1984.

- The defendant has been tbund not guilty on count(s)
2i_ Count(s) TWO of [he Indictment is disnlissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restimtion, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United States Anorney of any material change in economic
circumstances.


                                                                               Date of Imposit~onof Senrencr October 3 1, 2006




                                                                               DATE: October 3 1 , 2 0 0 6
           Case 8:06-cr-00111-JSM-TGW Document 76 Filed 11/01/06 Page 2 of 6 PageID 159

A 0 345n (Rev 12/03 SIIL'L'~
                          2. - I ~ ~ i p r i s o n ~ n c n t
Dcfenclant:           JOSE PliRIZZ                                                                 Judgment - Page 2. 01' (,
Case No. :            8:06-cr- 1 11-T-30MSS




           After consitleritlg the aclvisory sentencing guiclelines and a11 of the k3ctors identified in Title 18 U.S.C.
5 s 3553(a)(1)-(7).thc court finds that the sentence i~nposcclis sufficient, lmt not greater than ilecc.ssaqr.to conlply \\:it11
the statutory purposes ol' scnte~icing.


         The clefeliclant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned i'or a
total term of THIRTY (30) MONTHS as to Count 011cof the Indictnicnt.



X Thc court makes the lollo~.ingrecomlix~xlationsto [he Bureau of Prisons: The dei'cnda~ltshall bc pl:1ccd at FCI Colcman
-
(FL), if possible.




           - at - a.m./p.m. on -.
           - as notified by the United States Marshal.

- The defendant shall surrender for service of sentence at the institution designated hy the Bureau of Prisons.

           -before 2 p . 1 ~ .on -.
           - as notii'icd Ijy d ~ Unitctl
                                  c       States hlal-shal.
           - as notified by the Probarion or I'rctrial Services Ot'ticz.




                                                                       RETURN

           I have Z S K L I ~ L ' this
                                  ~    judgment as follows:




           Defendant delivered on                                                   to                                         ;I I


                                                                           . with a certified copy of this judgmsnc.


                                                                                            United Starcs Marshal




                                                                           Deputy Marshal
           Case 8:06-cr-00111-JSM-TGW Document 76 Filed 11/01/06 Page 3 of 6 PageID 160
A 0 245B (Kev. 12/03) Sheer 3 - Supervised Release

Defendant:             JOSE PER IiZ                                                                         Judg~nent- Page 3 01' 6
Case S o . :           8:06-cr- 1 1 I -T-SOMSS
                                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of THREE (3) YEARS as to
Count One of the Indictment.

        The defendant shall report to the probation office in the district to which the dcfcndant is released witliin 72 hours o l release
from rhe custody of the Bureau of Prisons.

The defendant shall nor commit another fedcral. state, or local crime. The clcfendant shall 1101 illegally possess ri controlled substance.
The defendant shall refrain I'rorn any unlawful use of a con~rolledsubstance, The del'endant shall submit to one drug test wilhin 15
days of release from imprisonment and at least two periodic drug tests therenl'ter, as dctcrmined by the coi~rt.


           The defendant, having been convicted of a qualifying felony, shall coopcrate in the collection of DNA as directed by the
           probation officer.

               If this judgmcnl inlposes a fine or a restitutioll il is a condition of supervised rcluasc that the defendant pay in accordance
               with the Schedule of Payments sheet of this judgment.

               The defendant shall con~plywith the standard conditions that have been adopred by this court as well as wirh any addiliond
               conditions on the attached page.

                                                STANDARD CONDITIONS OF SUPERWSION
               tlic deftndun~sliall not Imve the judicial district witliout the permission ofthe cou~.tor probation officcr:

               the defendant shall report to the probation ofticer and shall submit a truthfit1 and complete \vritten report within the first 5vc days of cach
               month;

               thc defendant shall answer truthfully all inquiries by tlie psobation officer and follow thc instructions of the probation officer;

               the defendant shall support his or hcr dcpcndents and ~iicetother family responsibilities;

               the defendant sli;111 u.01-kregularly ar a la\vful occupation, unless escuscd by the probation officer for schooling. training, or other
               acceptable rcasons;

               the defendant shall notify the probation officer at least tcn days prior to any change in rcsidcncc or employment;

               tlie defendant shall refrain from cxccssive use of alcohol and shall not purchase, possess, usc, distribute, or adriiinister any contsolled
               substance or m y paraphernalia relutcd to any controllcd substances, exccpt as prescribed by a physician;

               the dckndunt sliall not froquent plnccs where controlled substances are illc~allysold, i~scd,distributed, or administcrcd;

               the defendant shall not associate witli any persons engaged in criminal activity and shall not mociatc with any pcrson convictccl of a
               fclony, ~ ~ n l egsantcd
                                ss      pcmiission to do so by the psobation officer;

               the defendam sliall perniit a probation officer to visit him or her at any time at houiie os elsewhere and shall pcrnlit confiscation of any
               contraband observcd in plain view of the probation officer;

               the defendant sh:~llnotify the probation officer within scventy-two hours of bcing arrcstcd or questioned by a law cnfosccment otf'iccr;

               thc defendant sh:~llnot enter into any agreement to act as an informer or a spccial asent 01.3 la\\! c'nforcemc'nt ascncy without llic
               permission of tlic court;

               as directed by thc probation officer, the defendant shall notify third partics of risks that may bc occas~onedby tlic dcfcndant's crim~nalrecord
               or personal history or characteristics and shall perniit the probation officcr to make such notifications and to confirm chc dcfcndant's
               conipliance witli such notification requirement.
          Case 8:06-cr-00111-JSM-TGW Document 76 Filed 11/01/06 Page 4 of 6 PageID 161
A 0 235B (Rev. 12/03) Sheet 3C - Supervised Releiise
                       --               - -



Defendant:            JOSE PEREZ                                                                 Judgment - Page 4 of 6
Case No. :            8:06-cr-111-T-30MSS
                                               SPECIAL COIKDITTONS OF SUPERVISION

           The dcfendml shall also comply with the following nclclitional conditions of supervised rclc.:tse:
           Defendant shall participate in a program (outpatient and/or inpatient) for treatn~cntof narcotic addiction or drug or :1lcohol
           dependency and follow the probation officer's i~lstructionsregarding the inlplernentarion of h i s court directive. This
           program may included testing for the detection of substance use or abuse not to exceed 104 tests pcr year. Further. the
           deiendant shall be required to contribute to the costs of services for such treatment not to exceed an amount determined
           reasonable by ~ h cProbation Ol'flccr based on ability to pay or availnbility of third party payment and in conformance with
           the Probation Of'l'ictt's Sliding Scale for Subst;incc Abuse Trentmc~lrServices. Upon completion 01' a drug or alcohol
           dependency treatment program the defendcant is directed to submit lo tesling for the dclection of sul~stanccuse or abuse not
           ro exceed 104 test per year.
           If the defendant be deported, he/she shall not be allowed to re-enter the United States without the express pel-mission of the
           appropriate governmental authority.
           The defendant. having been convicted of a qualifying felony. shall cooperate in the collectio~l01' DNA as directed by the
           probation officcr.

           The n;and;lrol-y drug testing provisions shall apply pursuant to lhc Violent Crime Control Act. Based on the probation
           officer's determi~~ttion that additional drug urinalysis is necessary, the Court authorizes random drug testing not to cxcced
           104 tests per ycai-.
          Case 8:06-cr-00111-JSM-TGW Document 76 Filed 11/01/06 Page 5 of 6 PageID 162
A0 215B (Rev 13!03i Sheet 5 - C r i n l i ~ ~ Monetary
                                              al       Penalties

Defendant:             JOSE PEREZ                                                                    Judg~nent- Page _5 of 6--
Case No.:              8:06-cr-1 11-T-30MSS

                                                     CRIMINAL MOhTTARY PENALTIES

            The defendant must pay the total criminal inonctary penalties under the schedule of payments on Sheer 6.
                                   Asscssment                               -
                                                                            Fine                     Total Restitution

            Totals:


-           The deternlination of restitution is deferred until               .    An Artlemled Jrrtlg~lletzrit1 n Crir~litialCose ( A 0 245C) will
            be entered after such determination.

-           The drltndant must imke restirution (including community restitution) to the following payees in the ilnlouot listed
            below.
            If the defe~ldantmakes a partial payment. each payee shall receive an approximately proportioned payment, unless
            specified otherwise in the priority order 01: ercentage paynlent column belou . Howevc'r . pursuant to 18 U. S .C . 5
            3664(i), all nonfedcral victims must be p l f b e i - o r e rhe United States.
                                                                                                                       Priority Order or
                                                             *Total                   Amount of'                       I'ercentagc of
                                                           Amount of Loss          Rest ilut ion Ordered               I)av~nent




            Restitution amount ordered pursuau to plea agree men^ $
-           The defendan1 shall pay interest on any fine or restitution of more than $2,500, unless the restitution or fine is paid in I'ull
            before the liftecnth day after the date of the judgment, pursuant to 18 U.S.C. 5 3612(0. All of the payment options on Sheer
            6 may be subject to penalties for delinquency and default. pursuant to 18 U.S.C. $ 36 12(g).
A
            The court cletermined that the defendant does not have the ability to pay interest and it is ordesed thn~:

          A           thc interest requirement is waived for rhc - fine             - rcsri~ion.

          A           the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A. and 113A of Title 18 for the offenses
cornmitted on or after Scpk.mber 13, 1994, but before April 23, 1996.
         Case 8:06-cr-00111-JSM-TGW Document 76 Filed 11/01/06 Page 6 of 6 PageID 163
A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments
Defendant:        JOSE PEREZ                                                                Judgment - Page         of
Case No. :        8:06-cr-111-T-30MSS


                                                 SCHEDUL.E OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                  Lump sum p y n e n t of $ 100.00 clue immediately, balmce clue
                            -not later than                    . or
                            -in accordance - C , - D, - E or - F below; or
                  Payment to begin immediately (may be combined with -C. -D. or -F below): or
                  Paymenr in eyiul                    (e.g., weekly. n~onthly,quarterly) install~nentsof $            over a
                  period of          (e.g . , inonths or years). to comnlence            days (e.g.. 30 or 60 days) after the
                  date of rhis judgment: or
                  Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $              over a
                  period of
                               . (e .g.. months or years) to conlrnence                   (e.g. 30 or 60 days) after release
                  from imprisonment to a term of supervision; or
                  Paymeut cluri~igthe term of supervised release will commence within                        (e-g., 30 or
                  60 days) after release from imprisonment. The court will set Ihe payment plan based on an assessment of
                  the defendant's ability to pay at that time, or
                  Special instructions regarding the payment of criminal monetary penalties:




Unless the court has espresslv ordered otherwise, if this judgment imposes a period of impriso~m~ent,payment of criininal
monetary penalties is due dufiiig in1 risonment. All criminal monetary penalties. except those payments made through the
                                        b
Federal Bureau of Prisons' Ininate inancial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amounr, Joint and
Sever:d Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-
X        The defendant shall forfeit the defendant's interest in the following property to the U ~ i t e dStares:
The Court orders that the defendant forfeit to the United States immediately and volunlarily ally and all assets and roperty,
or portions thereof. subject to forfeiture, which are in the possession or control of the defendant or the de endant's
nominees.
                                                                                                                               P

Pny~nerltsshdl be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution intttrrsl, (4) tine principal.
(5) co~nmunityrestitution, (6) lint interest (7) penalties, and (8) costs, iilcluding cost of prosecution and court costs.
